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                        UNITED STATES DISTRICT COURT
                        Western District of Oklahoma

 Shannon Vculek,                             §
                                             §
                     Plaintiff,              §
                                             §       CIV-21-281-JD
                                             §
 v.                                          §
                                             §
 Harold Hoehner, Jr., Hoehner’s              §
 Technical Services, Inc., and Cactus        §
 Drilling Company, LLC                       §
                                             §
                     Defendants.             §

      STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                       AS TO ALL DEFENDANTS

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

through his respective counsel, hereby stipulates and agrees that the above-captioned action

is voluntarily dismissed, without prejudice, against all defendants.

       No opposing party has been served or filed an answer or a motion for summary

judgment.

       An arbitration agreement exists, and the parties will resolve the dispute through

arbitration.




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                        Respectfully submitted:


                        /s/ Victor R. Wandres
                        Victor R. Wandres, OBA #19591

                        Paramount Law

                        4835 S. Peoria Ave., Suite 1
                        Tulsa, OK 74105
                        (918) 200-9272 voice
                        (918) 895-9774 fax
                        victor@paramount-law.net

                        By:     /s/ Chris R. Miltenberger
                                Chris R. Miltenberger
                                Texas State Bar Number 14171200
                                Designated as Lead Attorney

                        The Law Office of Chris R.
                        Miltenberger, PLLC

                        1360 N. White Chapel, Suite 200
                        Southlake, Texas 76092
                        817-416-5060 (office)
                        817-416-5062 (fax)
                        chris@crmlawpractice.com

                        Attorneys for Plaintiff




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